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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

SECURITIES AND EXCHANGE      §
COMMISSION,                  §
                             §
      Plaintiff,             §
                             §
v.                           §                         Civil Action No. 3:09-CV-0298-N
                             §
STANFORD INTERNATIONAL BANK, §
LTD., et al.,                §
                             §
      Defendants.            §

                                        ORDER

      This Order addresses nonparty BDO USA, LLP’s, (“BDO”) motion to quash subpoena

or, in the alternative, motion to modify subpoena [1319]. In light of the action instituted

against BDO since the filing of the subpoena at issue, see Wilkinson v. BDO USA, LLP, Civil

Action No. 3:10-CV-1115-N (N.D. Tex. filed May 26, 2011), the Court grants the motion

and orders that all subpoenas directed at BDO in this action are quashed as moot. The Court

therefore denies as moot BDO’s motion for leave to file a supplemental reply [1372].



      Signed August 30, 2011.



                                                 _________________________________
                                                           David C. Godbey
                                                      United States District Judge




ORDER – SOLO PAGE
